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                IN THEUNITED STATESDISTRICT COURT FOR THE
                         SO W H ERN D ISTRICT OF FLO RIDA
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   DONALD J.'IRLJM P,                  !

                                    Plaint# No.9:22-& -81294-AMC
           V.
                                               Dated:August25,2022
   UN ITED STATES O F AM ERICA,
                                               JURY TIUAL DEM ANDED
                                   Defendant

                                  M O TIO N TO E-FILE
        1,T.E.,T.ERajK.Patel,theplaindff(prose),respedfullymovetltisCourttoallow
  m e to file eled ronically via PA CER.Ihave been granted IFP isthe U nited StatesCourts
  ofA ppeals.Ihave been granted IFP in the United States trialcourts,both the distdd
  cout'tsand the Coud ofFederalC'laim s. 1have been allowed to file electronically in the
  United States Cotn'tofAppeals for the FederalCircuitvia PA CER. 1have been able to
  fileelectronically via acourt-assigned e-m ailaddressin every otherfederaldistrid coult
  I am also filing IF''
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  prejudice and allow forlitigadon to happen withoutmentalstressaboutmy economics.
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  Ihejudidaleconomy mighteven benefitfrom reduced timeforfiling.
        Forallthesereasolw Im ove thatthe Courtallow m e to file eleckortically.


                            Respedftllly subm itted,




                            /s/RajK.Patel
                            T.E.,T.E.RajK.Patel(prose4
                            6850 East21stStreet
                            lndianapolis,IN 46219
Case 9:22-cv-81294-AMC Document 25 Entered on FLSD Docket 08/26/2022 Page 2 of 3
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Case 9:22-cv-81294-AMC Document 25I Entered on FLSD Docket 08/26/2022 Page 3 of 3
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                               CERTIFICA TE O F SERV ICE

  IcertifythatIserved acopy oftheforegoingRajK.Patel's(ProSe)N odce ofA ppearance
  on 08/24/2022tobelow individualsv$ athee-m ail,consistentwith theLocalRules:
                                     :

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  D ated:A ugust25,2022



                            Respectfully subm ittedz




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